    Case 18-11830-elf       Doc 53       Filed 03/18/21 Entered 03/18/21 12:17:36            Desc Main
                                         Document      Page 1 of 1



                          IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE: Sandra Banks-Eldridge
                               Debtor(s)
                                                                                  CHAPTER 13
Lakeview Loan Servicing, LLC, its successors and/or
assigns
                             Movant
              vs.
                                                                                NO. 18-11830 ELF
Sandra Banks-Eldridge
                               Debtor(s)

William C. Miller Esq.
                               Trustee                                      11 U.S.C. Section 362


                                     PRAECIPE TO WITHDRAW

TO THE CLERK OF THE BANKRUPTCY COURT:
   Kindly withdraw the Certification of Default of Lakeview Loan Servicing, LLC, which was filed with
the Court on or about March 3, 2021 (Document No. 48).
                                                      Respectfully submitted,


                                                      /s/ Rebecca A. Solarz, Esq.
                                                      ____________________________________
                                                      Rebecca A. Solarz, Esquire
                                                      KML Law Group, P.C.
                                                      BNY Mellon Independence Center
                                                      701 Market Street, Suite 5000
                                                      Philadelphia, PA 19106
                                                      Phone: (215)-627-1322

Dated: 3/18/2021
